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                                 STATEMENT OF FACTS

Your affiant, Heang P. Ly, is a Special Agent with the Federal Bureau of Investigation (“FBI”)
and is assigned to the Washington Division, tasked with investigating criminal activity in and
around the United States Capitol grounds. As a Special Agent, I am authorized by law or by a
government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

I have been employed by the FBI for over nine years and as a Special Agent since 2014. During
my tenure with the FBI, I have investigated and participated in the investigations of a variety
of criminal matters and, among other things, have conducted or participated in surveillance,
investigative interviews, the service of Administrative and Grand Jury subpoenas, review of
records, and the execution of search warrants, involving both physical and electronic evidence.
Currently, as part of my duties, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021.

Unless otherwise stated, the information in this Affidavit is either personally known to me, has
been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact
known by me or the United States. The dates listed in this Affidavit should be read as “on or
about” those dates.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the
U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to
members of the public.

On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular
objection. Vice President Mike Pence was present and presiding, first in the joint session, and
then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the
U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.
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       At such time, the certification proceedings were still underway and the exterior doors and
       windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
       Police attempted to maintain order and keep the crowd from entering the Capitol; however,
       shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
       by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
       crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
       Representatives and United States Senate, including the President of the Senate, Vice President
       Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
       session of the United States Congress was effectively suspended until shortly after 8:00 p.m.
       Vice President Pence remained in the United States Capitol from the time he was evacuated
       from the Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which appeared
       to be captured on mobile devices of persons present on the scene depicted evidence of
       violations of local and federal law, including scores of individuals inside the U.S. Capitol
       building without authority to be there.

       On or about January 12, 2021, an FBI agent reviewing social media videos of the events of
       January 6 at the Capitol identified an individual with a police baton assaulting police officers
       in the Lower West Terrace entrance of the Capitol (known as “the tunnel”). The individual
       was wearing a helmet, goggles, shoulder pads, and a Louisiana State Flag patch on his chest.
       This individual also carried an orange two-way radio on his chest. Based on this video footage,
       the agent added this individual to an FBI wanted poster, which was released to the public as
       BOLO 182.

       On or about February 9, 2021, a tip was received via the FBI tip line. The tipster stated that the
       individual nicknamed “#bufflightyear” on the Twitter feed “#seditionhunters,” who
       corresponded to FBI BOLO 182 on the same feed, resembled a former neighbor of
       approximately 12 years, named Edward RICHMOND. The tipster stated that RICHMOND
       served in the military and lived his entire life in Louisiana. The tipster provided an address for
       RICHMOND as an address on Cornerview Road in Geismar, LA, and a phone number ending
       in 2124. A search of law enforcement databases confirmed that the address and phone number
       are associated with an Edward Richmond Jr., currently 39 years old. The address also matches
       the address on one of RICHMOND’s state issued identifications. 1

       On or about April 20, 2021, after receiving another tip, an FBI agent interviewed a confidential
       witness (“CW-1”) regarding the January 6 events at the United States Capitol. CW-1 stated
       he/she had traveled to Washington D.C. from Ohio with a group of approximately nine other
       individuals who planned to attend the rallies planned for the day. CW-1 was shown a photo of
       the security team hired to travel with CW-1, which was posted by CW-1 on his/her social
       media account. In the photo, CW-1 identified a man wearing a black helmet, goggles, shoulder
       pads, an orange 2-way radio, and a patch on his chest of the Louisiana state flag, as “EDDIE.”

1
    Richmond has several different listed addresses on various state-issued identifications.

                                                             2
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CW-1 stated he/she did now know “EDDIE’s” full name. The man CW-1 identified in the
photo as “EDDIE” is the same person previously identified by law enforcement as BOLO 182.
CW-1 also stated that “EDDIE” stayed at the Phoenix Park Hotel, located at 520 North Capitol
St NW, Washington, D.C., with CW-1 and the rest of the group while they were in Washington
for the rally. CW-1 stated that they stayed at the hotel from January 5 until January 7, 2021.

The photograph below is the same photograph obtained from CW-1’s social media account
and shown to CW-1 by FBI agents, which was used to positively identify RICHMOND.




                (Image 1: photograph of January 6, 2021 from social media.)



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    A grand jury subpoena served to the Phoenix Park Hotel confirmed that Edward RICHMOND
    stayed at the hotel from January 5, 2021 through January 7, 2021. The address on the hotel’s
    file matches the address on RICHMOND’s current Louisiana State identification card which
    contained an address in Baton Rouge, LA with zip code 70817 2 (RICHMOND does not appear
    to have a current valid driver’s license). The phone number on file with the Phoenix Park Hotel
    ended in 6657. 3 A search of law enforcement databases confirmed that the address is associated
    with Edward RICHMOND Jr. Additionally, a subpoena to AT&T confirmed that the phone
    number ending in 6657 that was provided is subscribed to Edward L. Richmond.

    In addition, your affiant obtained a copy of the CCTV footage from the Phoenix Park Hotel
    located in Washington, D.C., from January 6, 2021. Upon reviewing the CCTV footage, at
    approximately 5:42 p.m., a CCTV camera installed in the lobby of the Phoenix Park Hotel
    captures RICHMOND, returning to the hotel, wearing the same equipment and attire as he is
    wearing in the photo depicted above. Below is a still from the Phoenix Park Hotel CCTV
    footage on January 6, 2021.




            (Image 2: CCTV footage from the Phoenix Park Hotel on January 6, 2021.)

    FBI reviewed images and video from the U.S. Capitol on January 6 and identified an individual
    whose appearance is consistent with the individual in Image 1 above and the surveillance
    footage from the Phoenix Park Hotel (Image 2).

2
  The full address is known to the affiant but is not included here because the government anticipates that this
statement of facts will be made public.
3
  The full phone number is known to the affiant but is not included here because the government anticipates that this
statement of facts will be made public.

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Below are additional still images taken from videos of RICHMOND that were obtained or
provided to the FBI following the events of January 6 2021 and that were also reviewed by the
Affiant, and are recognizable as being taken at the Capitol on January 6, 2021.

As is consistent with other photographs, including Image 1 above, in the images below
Richmond is wearing orange-lined goggles and shoulder pads; and in one image below, he also
wears a black helmet as consistent with Image 1. In two of the images below, the blue
Louisiana state patch is visible on his chest.




      (Image 3: still of RICHMOND from FBI obtained footage on January 6, 2021.)




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(Image 4: still of RICHMOND on January 6, 2021, from FBI obtained footage on January 6,
                                      2021.)




          (Image 5: Photo of RICHMOND from open source on January 6, 2021.)

Your affiant obtained a copy of the U.S. Capitol’s closed-circuit video (“CCTV”) footage from
January 6, 2021, showing the events at the Lower West Terrace entrance. Your affiant
recognizes RICHMOND in the CCTV footage as the same individual in the photographs
above. In the CCTV footage, RICHMOND can be observed wearing the same black helmet,
orange-lined goggles, shoulder pads, and distinct Louisiana state flag patch as he is wearing in
some of the photos set forth above. Additionally, in the obtained footage and Body Worn
Camera (“BWC”) videos from January 6, 2021, RICHMOND can be observed using a baton
to strike the officers in the Lower West Terrace tunnel multiple times. Below is a screen shot


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 taken from the CCTV footage, highlighting RICHMOND’s location at the Lower West Terrace
 entrance.




(Image 6: still from CCTV on January 6, 2021 depicting RICHMOND at entrance of Lower
                                 West Terrace tunnel.)

 Additionally, your affiant obtained a copy of the BWC footage of several officers who were
 located in the Lower West Terrace tunnel on January 6, 2021. In that footage, one can see
 RICHMOND striking law enforcement officers with a black baton in the tunnel.



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Below is a screen shot of RICHMOND raising the baton before striking the officers in the
tunnel. In the below images, RICHMOND can be observed wearing the same equipment and
Louisiana state flag patch he is seen wearing in the photos above—several of which show
RICHMOND near the Lower West Terrace tunnel entrance.




    (Image 7: still from BWC on January 6, 2021 at approximately 4:56 p.m. depicting
    RICHMOND raising his baton to strike officers in the Lower West Terrace tunnel.)

Below is a still image from a video of RICHMOND at the Lower West Terrace tunnel entrance,
wearing a helmet and goggles, and holding a baton, just before he assaulted police officers
with the baton.




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      (Image 8: still of RICHMOND from FBI obtained footage on January 6, 2021.)


On or about November 20, 2022, a Confidential Witness (“CW-2”), with whom RICHMOND
had a prior continuing and close relationship was shown the following photos, in addition to
Images 2, 3, and 5 above, all of which have been identified as being taken in Washington D.C.
on January 6. The set of photographs shown to CW-2 included images from the Capitol, an
image with the Washington Monument visible in the background, and an image from
surveillance footage obtained from the Phoenix Park Hotel.




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     (Image 9: still of RICHMOND from FBI obtained footage on January 6, 2021.)




(Image 10: photo of RICHMOND from open source, publicly found photographs taken on
January 6, 2021.)



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 (Image 11: still of RICHMOND from FBI obtained footage on January 6, 2021.)




 (Image 12: still of RICHMOND from FBI obtained footage on January 6, 2021.)

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      (Image 13: still of RICHMOND from FBI obtained footage on January 6, 2021.)


After reviewing the above photos, CW-2 stated that all of the photos were of RICHMOND, or
had RICHMOND in them. CW-2 then stated that, “he looks like he’s going to war,” in
reference to the appearance of RICHMOND in the photos.

Based on the foregoing, your affiant submits that there is probable cause to believe that
RICHMOND violated 18 U.S.C. §§ 111(a)(1) and (b), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with any person designated in Section
1114 of Title 18 engaged in or on account of the performance of official duties. Persons designated
within 18 U.S.C. § 1114 include any person assisting an officer or employee of the United
States in the performance of their official duties. Subdivision (b) includes an enhancement for
violating this provision while using a deadly or dangerous weapon or causing bodily injury.

Based on the foregoing, your affiant submits there is probable cause to believe that
RICHMOND violated 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

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   lawfully engaged in the lawful performance of his official duties incident to and during the
   commission of a civil disorder which in any way or degree obstructs, delays, or adversely
   affects commerce or the movement of any article or commodity in commerce or the conduct
   or performance of any federally protected function. “Civil disorder” means any public
   disturbance involving acts of violence by assemblages of three or more persons, which causes
   an immediate danger of or results in damage or injury to the property or person of any other
   individual. “Federally protected function” means any function, operation, or action carried out,
   under the laws of the United States, by any department, agency, or instrumentality of the United
   States or by an officer or employee thereof.
   Based on the foregoing, your affiant submits there is probable cause to believe that
   RICHMOND violated 18 U.S.C. §§ 1752(a)(1), (2), (4), and (b)(1)(A), which makes it a crime
   to (1) knowingly enter or remain in any restricted building or grounds without lawful authority;
   (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
   business or official functions, engage in disorderly or disruptive conduct in, or within such
   proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
   or disrupts the orderly conduct of Government business or official functions; and (4)
   knowingly engage in any act of physical violence against any person or property in any
   restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752
   of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area
   of a building or grounds where the President or other person protected by the Secret Service,
   including the Vice President, is or will be temporarily visiting; or any building or grounds so
   restricted in conjunction with an event designated as a special event of national significance.
   Subdivision (b)(1)(A) includes an enhancement for violating this provision while using or
   carrying a deadly or dangerous weapon.

   Lastly, based on the foregoing, your affiant submits that there is probable cause to believe that
   RICHMOND violated 40 U.S.C. § 5104(e)(2)(F) (Violent Entry and Disorderly Conduct),
   which makes it a crime to willfully and knowingly engage in an act of physical violence in the
   Grounds or any of the Capitol Buildings.



                                                     _________________________________
                                                     Heang P. Ly
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of September 2023.
                 Zia M. Faruqui
                 2023.09.05 11:37:34
                 -04'00'
___________________________________
HON. ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE

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